                    Case 1:11-cr-00299-PLM
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA       SECOND ORDER OF DETENTION
             V.                            PENDING TRIAL
     PATRICK O'MEARA, JR.                                                                      Case Number:         1:11-CR-299

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                       ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                             under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                      TIMELINE: The defendant first appeared on this indictment in this court on November 23, 2011. The government moved
                      for detention and requested a 3-day continuance. Because of the Thanksgiving holiday and the weekend, the detention
                      hearing was set for 11/30/2011, within the 3-day window.

                      On 11/30/2011, defendant's prior retained counsel requested a continuance, pointing out that there might be a warrant/hold
                      out of the ND/OH, where defendant was on supervised release, which he might need to address (continued on attachment)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   the presumption that defendant will be a danger to the community has not been rebutted, and alternatively, make the same
   finding without the presumption, on the basis that there is probable cause to believe based on the evidence presented, and
   the indictment, that defendant was part of a scheme to traffic in 12,000 pounds of marijuana here in Western Michigan, while
   he was supposed to be behaving himself in Ohio while on supervised release to a federal court (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         April 9, 2012                                                                /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)


first. The detention hearing was rescheduled to 12/5/2011.

On December 5, 2011, the court was informed by defense counsel (during a fire drill which interrupted commencement
of the proceedings) that a further continuance was requested, and the court postponed the matter to December 7,
2011.
On December 7, 2011, the court and parties were informed about a new arrest warrant out of the ND/OH, and
defendant waived the detention hearing, reserving his right to re-open the matter should the situation in Ohio be
resolved.

Defendant subsequently retained new counsel who filed a request for a detention hearing on April 5, 2012, and that
hearing was held on April 9, 2012, a date agreed upon by both counsel.

FACTS SUPPORTING DETENTION: Since the December 7, 2011 detention hearing which was waived, a Second
Superseding Indictment has been filed naming defendant in a second drug charge. Both pertain to a 12,000 pound
shipment of marijuana. Federal agents had the shipment under surveillance at a warehouse in Wyoming, MI, where
this defendant was seen for approximately one hour. Defendant was subsequently seen in the presence of another
one of the named co-conspirators in this matter, and pursuant to a search warrant executed on 10/26/2011, $5,000 and
1/2 lb. of marijuana was found at his girlfriend/wife's house in town. There was some suggestion this marijuana may
have belonged to his son and was not related to the earlier shipment mentioned.

Defendant was previously convicted in the ND/OH in 2003 for distribution of cocaine, sentenced to 68 months in prison
and 96 months on supervised release. He was on supervised release when this incident occurred. Defendant
apparently did not have permission from the ND/OH to travel to this district, nor live in this district with his girlfriend.
The U.S. Probation Officer supervising defendant in the ND/OH thought the defendant was residing with his sister in
Norton, OH. Defendant was recently married to his girlfriend in Las Vegas, Nevada, but also traveled there without
permission.

Also while on supervised release to the ND/OH, defendant was stopped in this district for a traffic offense, at which
time he produced a false ID with his picture but the name of a different person with a Canadian address, and a different
birth date. In fact, he pled guilty under the false name, thus perpetrating a fraud on the court as well as on the police.

Part II - Written Statement of Reasons for Detention - (continued)

in that state. In addition, defendant has used an alias to deceive the police in Wyoming, MI, in an unrelated matter,
and has taken that fraudulent conduct so far as to plead guilty and be convicted under a false name. This court
cannot trust defendant to adhere to rules governing his release, anymore than the Ohio federal court can. Also, if he
uses aliases, and repeatedly leaves his district without permission, he is a flight risk.
